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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

             EDIKAS STRUBELIS,                         ::   MOTION TO VACATE
                 Movant,                               ::   28 U.S.C. § 2255
                                                       ::
                   v.                                  ::   CRIMINAL ACTION NO.
                                                       ::   1:13-CR-159-CAP-JKL
                                                       ::
             UNITED STATES OF AMERICA,                 ::   CIVIL ACTION NO.
                 Respondent.                           ::   1:16-CV-782-CAP-JKL

                               FINAL REPORT AND RECOMMENDATION

                   Movant is a former federal prisoner who, pro se, filed a motion to vacate his

             sentence under 28 U.S.C. § 2255. (Doc. 137.)1 In 2014, the Court sentenced Movant

             to fifty-one months’ imprisonment and three years’ supervised release after a jury

             convicted him of transporting stolen goods in interstate commerce. (Doc. 120.) In

             2015, the U.S. Court of Appeals for the Eleventh Circuit affirmed the judgment of

             conviction. (Doc. 135.)

                   In 2016, while serving his prison sentence, Movant filed his § 2255 motion.

             (Doc. 137.) Movant asserts one claim in that motion. He contends that because he

             was not deemed a deportable alien at the time of sentencing, he was not given the

             opportunity to request a downward departure or sentence modification on the basis of


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                       All citations to the record are to 1:13-cr-159-CAP-JKL.


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             being a deportable alien. (Id.; Doc. 137-1.) Movant contends that he did not become

             a deportable alien until federal immigration officials placed a detainer on him a few

             months after he was sentenced. (Id.)

                   Movant complains that his alleged inability to use his deportable status to his

             benefit at sentencing “may have had an effect on the duration of his sentence and post-

             sentencing restrictions.” (Doc. 137-1 at 3.) Movant specifically complains about not

             being placed in a low-security prison, not being eligible for early release to a

             community correctional facility, and facing a period of supervised release after he

             leaves prison, all of which he might not have faced if he had been treated as a

             deportable alien at sentencing. (Id. at 3-7.) Movant does not contest his convictions.

             (See generally Docs. 137, 137-1.)

                   The government filed a motion to dismiss the § 2255 motion as moot. (Doc.

             153.) The government states that Movant was released from prison after he filed his

             § 2255 motion and, in March 2017, was removed from the United States by

             immigration officials. (Id. at 3.) The Bureau of Prisons’ records confirm that Movant

             was released from prison on January 11, 2017. Inmate Locator, Fed. Bureau of

             Prisons, https://www.bop.gov/inmateloc (last visited May 22, 2017).



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                   Because Movant challenged only his sentence, including post-confinement

             supervised release, in his § 2255 motion and is no longer in prison or on supervised

             release, the government contends that the motion is moot. (Doc. 153.) Movant did

             not file a response to the government’s motion to dismiss, and the time for doing so

             has expired.

                   A federal court can adjudicate only those cases presenting a “live controversy

             with respect to which the court can give meaningful relief.” De La Teja v. United

             States, 321 F.3d 1357, 1362 (11th Cir. 2003) (quotation marks omitted). “When the

             issue that a prisoner presents in a § 2255 motion becomes moot, the Court loses

             jurisdiction over the proceeding. And when the Court lacks jurisdiction, it must

             dismiss the action pending before it.” Bailey v. United States, No. CR-08-IPJ-PWG-

             0408-S, 2013 WL 4851679, at *6 (N.D. Ala. Sept. 10, 2013).

                   The Court agrees with the government that this case is moot because the Court

             cannot provide Movant any meaningful relief under § 2255. In his § 2255 motion,

             Movant sought a reduced prison sentence and to not be subject to supervised release

             when he was released from prison. (Docs. 137, 137-1.) Movant also sought to be

             imprisoned in a low security prison and to be released early to a community

             correctional facility. (Id.) Because Movant has been released from prison and is not

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             subject to supervised release given his removal from the country, his claims are moot

             and must be dismissed.

                   Accordingly, the undersigned RECOMMENDS that the government’s motion

             to dismiss [153] be GRANTED, Movant’s § 2255 motion [137] be DISMISSED AS

             MOOT, and civil action number 1:16-cv-782-CAP-JKL be DISMISSED. The

             undersigned FURTHER RECOMMENDS that a certificate of appealability be

             DENIED because the resolution of the § 2255 motion is not reasonably debatable.

             See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483-84 (2000).

                   SO RECOMMENDED this 23rd day of May, 2017.



                                                          ___________________________________
                                                          JOHN K. LARKINS III
                                                          UNITED STATES MAGISTRATE JUDGE




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